244 F.2d 720
    The BLANTON COMPANY, a Corporation, Petitioner,v.FEDERAL TRADE COMMISSION.
    No. 15741.
    United States Court of Appeals Eighth Circuit.
    May 16, 1957.
    
      On petition for review of order of Federal Trade Commission.
      Norman C. Parker, St. Louis, Mo., for petitioner.
      Robert B. Dawkins, Asst. General Counsel, Federal Trade Commission, Washington, D. C., for respondent.
      PER CURIAM.
    
    
      1
      Petition for review of order of Federal Trade Commission dismissed without prejudice, on dismissal filed by petitioner.
    
    